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                                                    E-FILED 1/5/16
                                                    JS-6
1                         UNITED STATES DISTRICT COURT
2
                         CENTRAL DISTRICT OF CALIFORNIA
3

4
      MAVIS WATSON, Individually, And ) Case No. 2:15-cv-06425-PSG-GJS
5
      On Behalf Of All Others Similarly )
6     Situated,                         ) ORDER
7
                                        )
                        Plaintiff,      )
8     v.                                )
9                                       )
      ALLIED INTERSTATE LLC,            )
10
                                        )
11                      Defendant.      )
                                        )
12

13
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14
      to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15
      41(a)(1)(A)(ii), the entire case is dismissed with prejudice as to the named
16
      Plaintiffs, and without prejudice as to the putative class. Each party shall bear its
17
      own costs and expenses.
18

19

20                                          Dated this ____day
                                                        5th    of January, 2016.
21

22
                                              _______________________________
23
                                              The Honorable Philip S. Gutierrez
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28




                                          Order to Dismiss - 1
